CASE 0:18-cv-01776-JRT-JFD Doc. 1442-9 Filed 08/24/22 Page 1 of 10




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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-9 Filed 08/24/22 Page 2 of 10
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                                                                       Page 1

1           IN THE UNITED STATES DISTRICT COURT
2                      DISTRICT OF MINNESOTA
3
4    CIVIL NO. 18-1776 (JRT/HB)
5    0:21-MD-02998-JRT-HB
6    MDL NO. 2998
7
8    IN RE:       PORK ANTITRUST LITIGATION
9
10   This Document Relates to:                      All Actions
11
12
13                       HIGHLY CONFIDENTIAL
14                   REMOTE AND ORAL VIDEO
15                   DEPOSITION OF TODD NEFF
16                            July 15, 2022
17
18
19
20
21   REPORTED BY:
22   Angela Smith McGalliard
23   Certified Realtime Reporter
24   Registered Professional
25   Reporter and Notary Public

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-9 Filed 08/24/22 Page 3 of 10
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                                                                      Page 299

1    producers of various sizes.
2           Q.         And what about earlier in the
3    time period, around 2009, how many
4    different hog producers did Tyson obtain
5    hogs from?
6                      MS. SCARLETT:              Objection to form.
7           A.         Still would have been in the
8    hundreds, if not -- you know, I know at one
9    time I believe it was over a couple
10   thousand entities that we did -- that we --
11   independent entities that we did business
12   with.
13          Q.         Did Tyson have long-term
14   contracts with many of its larger hog
15   suppliers?
16                     MR. KAPLAN:             Objection.
17                     MS. SCARLETT:              Objection to form.
18          A.         The length of contracts would
19   vary but we had contracts that -- a lot of
20   contracts that were in excess of twelve
21   months, some in excess of eighteen months,
22   some in excess of twenty-four months.                                   Some
23   of the smaller guys, really small
24   suppliers, we oftentimes would have, you
25   know, agreements less than that.                              But it

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                                                                      Page 300

1    was not uncommon to have long-term
2    contracts.            And I'll just state, you know,
3    twelve months or longer was very common.
4           Q.         And did those contracts that
5    Tyson had with independent hog suppliers
6    obligate Tyson to purchase a set number of
7    hogs?
8                      MS. SCARLETT:              Objection to form.
9           A.         So, yeah.           Each party entered
10   into the agreement on their own accord.
11   And we would strive to either set a
12   specific number of hogs on an annual basis,
13   that the independent hog supplier was to
14   deliver, or there were some contracts that
15   were written as 100 percent of their
16   supply.         And in those cases, we would try
17   to set a range of expected -- you know
18   expected volume.                 Because, again, dealing
19   with live animals and all the issues that
20   can impact the number of live animals,
21   you'd have to have a little bit of a range,
22   but that's -- that's usually how those were
23   written.
24          Q.         Was Tyson free to decline to
25   purchase hogs that it contracted to

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                             HIGHLY CONFIDENTIAL


                                                                      Page 301

1    purchase from any given hog producer during
2    the term of the relevant contract?
3                      MS. SCARLETT:              Objection to form.
4           A.         Could you repeat that again,
5    please, Lindsey?
6           Q.         Sure.        Was Tyson free to decline
7    to purchase hogs that it contracted for
8    with any given hog producer during the term
9    of the contract?
10                     MS. SCARLETT:              Objection.            Form.
11          A.         Outside of a force majeure event,
12   a plant that, you know, had a fire or that
13   PED virus -- excuse me, the coronavirus
14   event that happened a couple, three years
15   ago, outside of a force majeure event, the
16   answer to that is no.                     Our obligation to
17   uphold our end of the contract was that we
18   had to take delivery and we had to harvest
19   those animals.
20          Q.         Pursuant to its contract with hog
21   producers, does Tyson gain any ownership
22   interest in those companies?
23                     MS. SCARLETT:              Objection to form.
24          A.         No.      None whatsoever.                 They're --
25   All of the decisions that those suppliers

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                                                                      Page 302

1    would make, they were free to run their
2    business as they saw best for their -- you
3    know, for their business.                        So, no, we did
4    not have -- we did not have ownership.
5           Q.         Do hog producers have options
6    when it comes to who to sell their hogs to?
7                      MS. SCARLETT:              Objection to form.
8           A.         Similar to the answer I gave,
9    yeah.        Their -- Decisions on how many hogs
10   they wanted to produce and who they wanted
11   to sell those hogs to.                      And quite frankly,
12   what price discovery mechanism they wanted
13   to use, that was -- that was up to -- up to
14   the independent hog supplier.
15                     MR. KAPLAN:             I'm going to also
16   object.         I think this goes beyond the scope
17   of the direct.               But that's for the Record.
18          Q.         During the period from 2009 to
19   2018, was it rare for multiple packers to
20   compete for hog supply from the same hog
21   producers?
22                     MS. SCARLETT:              Objection to form.
23          A.         It was not -- It was not rare for
24   -- when I was there, for Tyson to compete
25   against others -- other packers for hog

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                                                                      Page 308

1    didn't have that power.                      We didn't have
2    that influence.                I mean, it -- That
3    decision had to be made by that hog
4    supplier.
5           Q.         What are some of the reasons that
6    a hog producer might refuse to add more
7    sows, even though a packer, such as Tyson,
8    wanted to buy more hogs from them?
9                      MS. SCARLETT:              Objection to form.
10          A.         There could be some -- several
11   scenarios that I could think of.                              First and
12   foremost, what kind of financial returns
13   the hog producer had been experiencing;
14   labor became more and more of a challenge,
15   and having enough labor to be able to
16   handle a larger operation was certainly a
17   consideration; age of facilities; you know,
18   the availability of feed stuffs, of corn,
19   and the price of those feed stuffs.                                That's
20   just to name a few of the reasons.
21          Q.         Okay.        Now I want to switch gears
22   to talk a bit about what was going on in
23   the hog market around 2009.                          Do you
24   generally recall that time period?
25          A.         Generally, yes; specifically, not

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                                                                      Page 309

1    so much.          But, generally, yes.
2           Q.         What do you remember about how
3    hog producers were faring during that time?
4                      MR. KAPLAN:             Objection.
5                      MS. SCARLETT:              Objection to form.
6           A.         I know that it was an extremely
7    difficult time financially for hog
8    producers.            I believe ethanol surge was
9    going on, which created a competing market
10   for corn and raised corn prices
11   significantly higher than they had
12   historically been; there was a virus that
13   was nicknamed swine flu, which created
14   demand challenges for pork, both
15   domestically and from some export
16   countries.
17                     What I recall, my experience at
18   that time frame was, that in 2010, we
19   harvested significantly fewer animals
20   versus 2008, as a company and as an
21   industry.           And I think that was a direct
22   correlation of how difficult it was for hog
23   producers.
24          Q.         Did Tyson require its independent
25   hog suppliers to cut back their hog

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-9 Filed 08/24/22 Page 9 of 10
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                                                                      Page 310

1    production during this time?
2                      MS. SCARLETT:              Objection.            Form.
3           A.         No.      In fact -- In fact, my
4    recollection, in my time with Tyson, is,
5    generally, our results were better when we
6    had a robust or, you know, abundant supply
7    of hogs.          So I can't think of a scenario --
8    I can't think of a scenario where we would
9    want fewer hogs.
10          Q.         During your tenure with Tyson,
11   were you ever involved in an agreement with
12   Tyson's competitors to set pork production
13   for supply levels?
14                     MR. KAPLAN:             Objection.
15                     MS. SCARLETT:              Objection to form.
16          A.         No.
17          Q.         Are you aware of anyone else at
18   Tyson ever having been involved in such an
19   agreement?
20                     MR. KAPLAN:             Objection.
21                     MS. SCARLETT:              Objection to form.
22          A.         No.
23          Q.         Were you ever involved in an
24   agreement with Tyson's competitors to set
25   hog production or supply levels?

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-9 Filed 08/24/22 Page 10 of 10
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                                                                      Page 311

1                      MS. SCARLETT:              Objection to form.
2           A.         No.
3           Q.         Are you aware of anyone else at
4     Tyson ever having been involved in such an
5     agreement?
6                      MS. SCARLETT:              Objection to form.
7           A.         No.      I'm not aware of any such
8     agreement from anyone else within Tyson.
9           Q.         Were you ever involved in an
10    agreement with Tyson's competitors to set
11    or fix pork prices?
12                     MS. SCARLETT:              Objection to form.
13          A.         No.
14          Q.         Are you aware of anyone else at
15    Tyson ever having been involved in such an
16    agreement?
17                     MS. SCARLETT:              Objection.
18          A.         Pardon me.            I am not.
19          Q.         And did you ever exchange
20    competitively sensitive information with
21    any competitor of Tyson to facilitate an
22    agreement between Tyson and its competitors
23    to reduce the supply of pork?
24                     MS. SCARLETT:              Objection to form.
25          A.         No.

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